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 5

 6                                   UNITED STATES DISTRICT COURT

 7                                   EASTERN DISTRICT OF CALIFORNIA

 8

 9   UNITED STATES OF AMERICA,                        Case No. 2:12-CR-0322 GEB

10                      Plaintiff,

11            v.                                      STIPULATION AND PROPOSED ORDER
                                                      TO CONTINUE THE STATUS
12   TATYANA SHVETS, et. al.,                         CONFERENCE FROM SEPTEMBER 30,
                                                      2016 TO NOVEMBER 4, 2016
13                      Defendants.

14

15            IT IS HEREBY STIPULATED AND AGREED between the parties and their attorneys,

16   Heiko Coppolla, Assistant United States Attorney, Kenny N. Giffard, attorney for Aleksandr

17   Lastovski, Joseph A. Welch, attorney for Tatyana Shvets, Kelly Babineau, attorney for Andrey

18   Lungu, and Robert M. Wilson, attorney for Aleksandr Maslov, that the status conference date of

19   Friday, September 30, 2016, should be continued to Friday, November 4, 2016. The continuance

20   is necessary, as counsel are still reviewing discovery, meeting with the respective clients and

21   investigating information as well as researching various possible resolutions.

22            IT IS SO STIPULATED that the period of time from September 30, 2016, up to and

23   including November 4, 2016.

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                        STIPULATION AND PROPOSED ORDER TO CONTINUE STATUS CONFERENCE
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 1          Accordingly, the time between September 30, 2016 and November 4, 2016 should be

 2   excluded from the Speedy Trial calculation pursuant to Title 18, United States Code, Section

 3   3161(h)(7)(B)(iv) and Local Code T-4 for defense preparation. The parties stipulate that the ends

 4   of justice served by granting this continuance outweigh the best interests of the public and the

 5   defendant in a speedy trial. 18 U.S.C. Section 3161(h)(7)(A).

 6
            September 28, 2016                     /s/ Kenny N. Giffard
 7                                                KENNY N. GIFFARD
                                                  Attorney for Alexsandr Lastovskiy
 8

 9          September 28, 2016                     /s/ Joseph A. Welch
                                                  JOSEPH A. WELCH
10                                                Attorney for Tatyana Shvets
11
            September 28, 2016                     /s/ Kelly Babineau
12                                                KELLY BABINEAU
                                                  Attorney for Andrey Lungu
13

14          September 28, 2016                     /s/ Robert M. Wilson
                                                  ROBERT M. WILSON
15                                                Attorney for Aleksandr Maslov
16
            September 28, 2016                     /s/ Heiko Coppola
17                                                HEIKO COPPOLA
                                                  Attorney for the United States
18

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20          IT IS SO ORDERED.
            The status conference presently set for September 30, 2016 at 9:00 A.M., is hereby
21   continued to November4, 2016 at 9:00 A.M., and time under the Speedy Trial Act will be
22   excluded from September 30, 2016 through November 4, 2016 pursuant to Title 18, United States
     Code, Section 3161(h)(7)(B)(iv) and Local Code T-4 for defense preparation, based on the
23   representations of the parties in their stipulation. The Court finds that the ends of justice served
     by granting this continuance outweigh the best interests of the public and the defendant in a
24   speedy trial.
25          Dated: September 28, 2016
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                        STIPULATION AND PROPOSED ORDER TO CONTINUE STATUS CONFERENCE
